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                                   UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF NORTH CAROLINA
                                          CHARLOTTE DIVISION



IN RE:                                                                                       Case No:     09-31457
YURII KOROTKOV
IRYNA PAVLOVNA KOROTKOV
SSN#: XXX-XX-8440
SSN#: XXX-XX-9624


                                     NOTICE TO ATTORNEY FOR DEBTORS

Re: 2009 Income Tax Returns

In order to evaluate certain income and/or expense items as contained in the budget of the above-referenced
Chapter 13 debtor(s), I hereby request a copy of the debtor(s)' Federal income tax return for the prior year,
including all accompanying schedules, be sent to my attention within thirty (30) days of the date of this letter.
Please advise your clients that if the requested tax return is not sent within the time set forth herein, I will
petition the court to set a hearing on the issue of noncompliance and request reimbursement for my costs
incurred in bringing the matter before the court. Of course, if good cause exists for an extension of time within
which to comply, please notify me prior to the deadline date and we can agree upon such extension as is
appropriate. Thanking you in advance for your assistance in this matter, I remain,




Dated: May 05, 2010                                                                Warren L. Tadlock
                                                                                   Standing Chapter 13 Trustee
CORRESPONDENCE ADDRESS:                                                            by: L. Pascal

Warren L. Tadlock
Standing Chapter 13 Trustee
4600 Park Rd Ste 101
Charlotte, NC 28209-0201
(704)372-9650
